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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

BARCADIA BAR & GRILL OF                CIVIL ACTION No.: 2:23-cv-03125
OF NEW ORLEANS, LLC
          Plaintiff                    DISTRICT JUDGE ELDON E. FALLON
v.

INDEPENDENT SPECIALTY                  MAGISTRATE JUDGE
INSURANCE COMPANY, CERTAIN             JANIS VAN MEERVELD
UNDERWRITERS AT LLOYD’S AND
OTHER INSURERS SUBSCRIBING
TO BINDING AUTHORITY
B6045568622021 (CERTAIN :
UNDERWRITERS AT LLOYD’S -
SYNDICATE 1458 AND
RENAISSANCERE SPECIALTY
U.S. LTD)
            Defendants

 PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO
 OPT OUT OF THE STREAMLINED SETTLEMENT PROCESS AND STAY INITIAL
                      DISCOVERY PROTOCOLS
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       Barcadia Bar & Grill of New Orleans, LLC (“Plaintiff”) respectfully submits this

memorandum in opposition to Defendants’ Motion to Opt-Out of Streamlined Settlement Process

and Stay Initial Discovery Protocols. [Rec. Doc 7]. There is no prejudice to Defendants to move

forward with the SSP and disclosures given that they have already received a tremendous amount

of information relative to the claim at issue including over 2000 pages of documents from Plaintiff

as part of Defendants’ Requests for Information and having Plaintiff’s representative sit for an

over 5-hour Examination Under Oath (“EUO”). During the EUO, Mr. Blatty answered all the

questions requested of the Defendants. Following the EUO, more information was provided to

Defendants per request. However, Defendants have failed to offer any amounts to resolve this

now over two-year old Hurricane Ida claim.

       By this Motion, Defendants continue to unilaterally control the pace of the claim and

control of the exchange of documentation, which should be quashed. Contrary to Defendants’

position, allowing the parties to proceed through the Court’s CMO will actually encourage

resolution as it will ensure the joint exchange of information, which can be evaluated by both

parties now which may alleviate the need for additional attorney costs and expense of proceeding

through a lengthy and costly motion practice on whether the Arbitration clause is applicable and

if so, a costly and expensive Arbitration. Further, Plaintiff has already submitted its Disclosures

to Defendants as it is the same information that the Defendants requested the Plaintiff provide over

a year ago. For these and the following reasons, Plaintiff submit that good cause does not exist

for the Court to grant Defendants’ Motion and it should be denied.




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I.        Facts and Procedural History

            Hurricane Ida made catastrophic landfall near Port Fourchon battering southeastern

    Louisiana as a Category 4 Hurricane and inflicting catastrophic damage across the jurisdiction

    of the Eastern District of Louisiana. 1 Barcadia was among the many thousands of structures

    and businesses severely damaged by Hurricane Ida.               Barcadia immediately notified the

    Defendants of its losses. Sedgwick was assigned the claim handling for the Defendants. The

    claim was acknowledged on September 2, 2021. Water damage to the building and interior

    equipment was significant and readily apparent. Barcadia was advised to turn off all power due

    to the substantial water intrusion. Water was observed coming through light fixtures, the

    ceilings, and the walls. Barcadia’s staff mitigated as much as possible by mopping up water and

    bleaching areas where water intrusion and water damage were observed.

            Following acknowledgment of the claim, Defendants’ representative made multiple

    Requests for Information concerning a number of documents. William Petter Blatty on behalf

    of Barcadia complied on September 4, 2021, by submitting the documents requested by

    Defendants for review. Mr. Blatty also submitted a substantial amount of photos to the

    Defendants regarding the damages. Barcadia also corresponded with the Defendants’ forensic

    accountant on September 7, 2021, regarding business income losses. The documentation

    requested from the Defendants’ forensic accountants was provided on September 9, 2021.

    Further, Mr. Blatty provided the Carriers’ forensic accountant with the spoilage inventory on

    September 9, 2021.

          Plaintiff’s property was initially inspected on September 8, 2021. During that initial

    inspection, water was observed in the hall ceiling, in the temple room, and coming through the



1
    See First Amendment to Case Management Order No 1 at Rec. Doc. 6.

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 ceiling of the kitchen. Ceiling tiles were observed as having fallen in the hallway. Organic

 growth was observed. Water was also observed coming in from the ceiling in various places

 and water also damaged equipment. On September 14, 2021, the Defendants’ independent

 adjuster advised he would be sending a “reserve report” to the desk adjuster which would include

 the Business Income loss as well as building damage. However, throughout September,

 October, and November 2021, the Defendants continued to request information from Barcadia

 indicating the same was necessary for claim investigation. Mr. Blatty, on behalf of Barcadia

 cooperated with all of the Carriers’ requests and continued to submit supporting documentation

 for Barcadia’s Hurricane Ida claim.

       On October 11, 2021, the independent adjuster issued a Preliminary Report #1 which

adjusted estimated the property damage at $364, 579.62 Replacement Cost Value and $204,579.62

Actual Cash Value. The report confirmed interior water damages to “multiple areas of the

restaurant including the main seating area, kitchen, lounge, and VIP areas.” He recommended an

“advance” be issued of $204, 579.62. Notably, this advance was never issued to Barcadia.

       As no payment was made on the claim for almost sixty (60) days from the date of loss and,

given that the Defendants requested an engineer to inspect the loss in October 2021, Barcadia’s

insurance agent inquired into the status of the claim. It was noted that the kitchen was operating

at 20% and that the insured was in need of an advance. While the insurance agent understood the

Defendants requested an engineer on cause, he wanted to know why it was being requested

approximately two (2) months into the claims process. On October 29, 2021, two (2) months after

the date of loss, an advance was forwarded to Plaintiff for $75,000.00, not the $200,000 noted by

the independent adjuster.

       On October 29, 2021, the Carriers issued a Reservation of Rights advising the claim was



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under investigation because the Defendants have been unable to “confirm ownership of some of

the items claimed damaged.” Defendants requested more information which the Plaintiff provided

to move the claim forward. Notably, in the October 29, 2021, Reservation of Rights letter,

Defendants did not invoke or even mention the proposed Arbitration provision and it is the position

of Plaintiff, potentially waiving the same.

       Throughout November and December 2021, and into 2022, Plaintiff and its representatives

continued to follow-up with Defendant for additional payment and claim settlement as well as

providing Defendants with supporting documentation on the loss. No additional amounts were

tendered or offered in settlement of the claim.

       Our office was retained, and we sent our Letter of Representation to the Defendants. In

response to the Letter of Representation, the Defendants (for the first time) invoked Arbitration,

requested an Examination Under Oath, and requesting more documentation from Barcadia

pursuant to a Request for Information, all which was provided in cooperation and with the

understanding that this would assist with claim resolution.

       Barcadia submitted written Proof of Loss to Defendants, through our office on October 31,

2022, noting damages caused by Hurricane Ida and providing a calculation by a local accountant

on Business Income loss. Mr. Blatty, on behalf of Barcadia, and at the request of Defendants

provided over 2000 pages of documents in response to the Request for Information and underwent

an over 5-hour Examination Under Oath November 17, 2022. After not receiving any additional

amounts in payment or tender or settlement (despite requests) for any portion of the claim despite

the extensive documentation and cooperation of Plaintiff to date with Defendants, Plaintiff filed

suit in Civil District Cour for the Parish of Orleans on July 7, 2023. Defendants removed to this

Honorable Court on August 4, 2023, and now ask the Court to allow it to Opt-Out of the



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Streamlined Settlement Process and stay Defendants’ obligation under the CMO to provide

Mandatory Initial Disclosures. Respectfully, Barcadia has waited long enough for the Defendants

to evaluate and offer to settle its claim. Despite the Arbitration clause in the Policy, Barcadia

requests that the instant Motion be Denied, and the parties be allowed to proceed through the SSP

and Initial Disclosures to prevent and foreclosure further delay on claim resolution.

II.        Law and Analysis

           This Court has “wide discretion to control the course of litigation, which includes authority

to control the scope and pace of discovery” and “general discretionary power to stay proceedings

before it in the control of its docket and in the interests of justice.” 2 To that end, this Court adopted

a Case Management Order (“CMO”) for this case, governing discovery in first-party insurance

claims from Hurricane Ida “to eliminate increased difficulties to the parties involved [and] to bring

as much of this litigation to resolution as expeditiously and justly as possible.” [Rec. Doc. 6]. The

CMO requires, in part, disaster protocols that call for “prompt sharing of specified information to

promote uniformity, to facilitate prompt case evaluation and communication about individual

cases/claims, and to facilitate expedited mediation” and then a Streamlined Settlement Process

designed to assist in expediting resolution of claims after said document exchange. [Rec. Doc. 6]

           While the Plaintiffs have shared information with Defendants with over 2000 pages of

documentation supporting the claim and have complied with the Court’s mandatory Initial

Disclosures, Plaintiffs have not been provided with any of the Defendants’ claims files or other

significant materials required under the CMO protocols. The Plaintiff has received, after several

requests, what it believes are the reports from the claims professionals who were involved in the

claim but has not received the full claim file materials. This is one of the key concepts leading to


2
    In re Ramu Corp., 903 F.2d 312, 318 (5th Cir. 1990); McKnight v. Blanchard, 667 F.2d 477, 479 (5th Cir. 1982).


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the high statistical success rate of resolution of this Court’s CMO – the mutual exchange of

information.

          Defendants submit that “subjecting the parties to the Initial Discovery Protocols prior to a

ruling on the pending Motion to Compel Arbitration may result in duplicative labor or unnecessary

expenses to the Parties as the possibility remains that this dispute will ultimately be subject to

arbitration and a corresponding set of procedural and discovery rules that may substantially differ

from the aforementioned protocols.” 3 This argument is not good cause and without merit for a

few reasons. First, Plaintiff, at Defendants’ request, has already turned a substantial number of

documents which labor, expense and time have already been incurred at the request of Defendants.

Second, any documentation turned over during the CMO Initial Disclosure process can be

addressed through a discovery order in the Arbitration should the case actually proceed such that

the parties can refer back to items that were produced with these disclosures without having to

duplicate efforts in the possible Arbitration. Third, and most important, is that if the case settles

at the CMO mediation then the need, costs, expense, labor, and time of going through a possible

Arbitration will be eliminated, which is a policy reason for why the CMO was put into place to

being with.

          It is the dual exchange of information through this Court’s CMO process which forces both

sides to open their proverbial cupboards and do away with what would otherwise be months of

written discovery and motion practice, whether in front of Judge Fallon or through a proposed

Arbitration panel. This is further highlighted by the fact that the Court’s CMO while allowing for

the potential of an opt-out from the SSP for good cause, does not allow for an opt-out of the entirety




3
    See Defendants Memorandum in Support at p. 3.

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of the mandatory disclosures, as follows: “The parties may not opt out of the mandatory disclosures

required by this CMO and described in Exhibit “A.” 4

        After the parties have been able to evaluate each other’s documents after the dual exchange

of information, the parties utilized a specially trained Court appointed neutral who has mediated

numerous of these cases, to get a chance to assist the parties toward a resolution. Considering

same, it is the opposite of good cause to not let this Honorable Court’s CMO process carry forward

since it is exactly what will minimize cost and expenses by allowing the parties to evaluate its

respective positions in light of exchange of documents, and, further, have a Court appointed neutral

work to see if he or she can contribute toward finalizing a settlement before both parties expend

labor and resources to move forward with Motion practice and potentially an Arbitration.

        Defendants further suffer no prejudice from allowing the CMO and related processes to

play themselves out like the other thousands of claims set before this Court. Indeed, they have

already retained an adjuster who inspected the property and an engineer to provide a causation

analysis. Defendants have taken the EUO of one of the members of the Plaintiff’s LLC and has

also requested and been provided thousands of supporting documentation from Plaintiff.

Defendants have the Plaintiff’s disclosures and the Defendants’ exchange should occur

imminently. 5 The parties should receive a post-document exchange mediation date by year end

which is much quicker than a Arbitration date would be set. If proceeding through the Court CMO

process does not resolve the claim, the parties can then go through the process of briefing and

arguing the Motion to Compel Arbitration, and possibly moving to Arbitration. Plaintiff sees no




4
 See Rec Doc. 6, CMO at Section 3. Streamlined Settlement Process at p. 5.
5
 Defendants are supposed to provide their Initial Disclosures thirty days from their answer date making the
disclosures due September 11, 2023. They were due on September 9, 2023 which is a Saturday. The next non-legal
holiday is Monday, September 11, 2023.

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objective downside for either side in the Court in allowing this case to proceed into the streamlined

settlement process and related document exchange.

        Defendants have simply failed to show that they have good cause to opt out of the Court’s

CMO process other than that they simply don’t want to participate, want to unilaterally control the

exchange of information, and want to continue to delay claim resolution to the prejudice of the

Plaintiff who has been waiting to resolve this claim for over two (2) years now despite full

cooperation, and incurred time and expense in doing so. The exchange of information by the

parties assists both sides with understanding each other’s position to reach a just and expedient

amicable resolution. That is the point of the CMO and the same should be allowed here.

Defendants simply have not met their burden.

III.    CONCLUSION

        For these reasons, this Court should exercise its discretion and deny Defendant’s request

to Opt-Out of the SSP and stay the Initial Discovery protocols. Defendants have failed to show

that good cause exists for their opt-out efforts, as allowing this Court’s CMO process to proceed

will result in a two-way exchange of information and an opportunity for a mediation after such

disclosure, both of which would increase the odds of a resolution potentially saving both parties

the time and costly motion practice relative in this Court or through Arbitration. The issues are

not complex and if Defendants were so keen on Arbitration, they could have invoke same at the

outset of the claim but did not. Defendants will not be prejudiced by same and the Court’s goal of

positioning these hurricane claims to maximize the probability of resolution will be met.

Accordingly, Plaintiffs respectfully request that the Court deny Defendants’ efforts to opt out of

the Case Management Order including the Streamlined Settlement Process and the Disaster

Protocols for Initial Disclosure. Rec. Doc. 7.



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                              Respectfully Submitted,
                              Gauthier Murphy & Houghtaling, LLC

                              /s/ Skye S. Fantaci
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